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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                        DALLAS




 JOHN M. PIERCE,

           Interpleader Plaintiff/Stakeholder,
                                                 Civil Action No. 3:21-CV-02770-S-BH
 against

 MILOS FUND LLC, a Nevada limited
 liability company, FIGHTBACK
 FOUNDATION, INC., a Texas
 corporation, ABC, LLCs 1-10, XYZ Corps.
 1-10,

           Interpleader Defendants/Claimants.




                                      NOTICE OF JOINDER

       Notice is hereby given that Interpleader Plaintiff JOHN PIERCE joins in the Interpleader
Defendant Fightback Foundation’s Motion to Extend Time.


       Date: December 30, 2021                            Respectfully Submitted,




                                                   ___/s/________________________
                                                   John M. Pierce, Esq.
                                                   jpierce@johnpiercelaw.com
                                                   T: (213) 349-0054
                                                   (Pro Se)
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                               CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, December 30, 2021, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.




                                                          /s/ John M. Pierce
                                                            John M. Pierce
